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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



 _______________________________
 SHAUNA HEATH                    )
                                 )                   Case Number
              Plaintiff          )
                                 )
              vs.               )                    CIVIL COMPLAINT
                                 )
 BONDED CREDIT BUREAU,          )
 INC. d/b/a DRS BONDED           )
                                 )                   JURY TRIAL DEMANDED
                                 )
              Defendant          )
 _______________________________)




                         COMPLAINT AND JURY DEMAND

        COMES NOW, Plaintiff, Shauna Heath, by and through her undersigned

 counsel, Brent F. Vullings, Esquire of Warren & Vullings, LLP, complaining of

 Defendant, and respectfully avers as follows:



                         I. INTRODUCTORY STATEMENT

        1.      Plaintiff, Shauna Heath, is an adult natural person and brings this action

 for actual and statutory damages and other relief against Defendant for violations of the

 Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits

 debt collectors from engaging in abusive, deceptive and unfair practices.
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                                      II. JURISDICTION

         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

 § 1337.

           3.    Venue in this District is proper in that the Defendant transacts business in

 this District and Plaintiff resides in this District.



                                         III. PARTIES

           4.    Plaintiff, Shauna Heath, is an adult natural person residing at1219 Melrose

 Drive, Clarkston, GA 30021

           5.    Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded (“Defendant”),

 at all times relevant hereto, is and was a corporation engaged in the business of collecting

 debt with a registered office at 820 Bear Tavern Road, Trenton, New Jersey and its

 principal place of business located at 7745 East Kemper Road, Cincinnati OH 45249.

           6.    Defendant is engaged in the collection of debts from consumers using the

 telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

 due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

 §1692a(6).

                              IV. FACTUAL ALLEGATIONS

         7.      On or about May 12, 2009, Plaintiff received a letter from Defendant’s

 agent in regards to an alleged consumer debt owed to Citifinancial. The letter informed

 her “We have verified via the auditor in your county that you own property.” The letter

 continues with “Unless you pay the balance of this account or contact this office to make
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 suitable arrangements to pay the balance, we shall advise your creditor that collection

 efforts should continue.” See letter attached hereto as Exhibit “A”.

         8.      After reviewing the letter Plaintiff was alarmed that she could lose her

 property to Defendant.

         9.      Plaintiff proceeded to contact the Defendant after receiving the letter.

 Defendant informed the Plaintiff that she must pay the total due in the amount of

 $7,673.95 with the threat of loss of her property if she did not.

         10.     The Defendant acted in a false, deceptive, misleading and unfair manner

 by insinuating and therefore intimidating Plaintiff into believing her property could be at

 risk.

         11.     The Defendant acted in a false, deceptive, misleading and unfair manner

 by threatening to take action that it did not intend to take for the purpose of coercing

 Plaintiff to pay the debt.

         12.     The Defendant acted in a false, deceptive, misleading and unfair when

 they engaged in conduct the natural consequence of which is to harass, oppress or abuse

 such person in connection with the collection of a debt.

         13.     The Defendant knew or should have known that their actions violated the

 FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

 their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

 to adequately review those actions to insure compliance with the law.

         14.     At all times pertinent hereto, the conduct of Defendant was malicious,

 intentional, willful, reckless, negligent and in wanton disregard for federal and state law

 and the rights of the Plaintiff herein.
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         15.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

 including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

 to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

 anguish and pecuniary loss and she will continue to suffer same for an indefinite time in

 the future, all to his great detriment and loss.



                                     COUNT I – FDCPA

         16.     The above paragraphs are hereby incorporated herein by reference.

         17.     At all times relevant hereto, Defendant was attempting to collect an

 alleged debt which was incurred by Plaintiff for personal, family or household purposes

 and is a “debt” as defined by 15 U.S.C. § 1692a(5).

         18.     The foregoing acts and omissions constitute violations of the FDCPA,

 including but not limited to, violations of §§ 1692d, e, e(2), e(4), e(5), e(10) and f.

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded, for the following:

         a.      Declaratory judgment that Defendant’s conduct violated the FDCPA and

                 declaratory and injunctive relief for the Defendant’s violations of the state

                 Act;

         b.      Actual damages;

         c.      Statutory damages pursuant to 15 U.S.C. § 1692k;

         d.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

         e.      Such additional and further relief as may be appropriate or that the

                 interests of justice require.
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                                  V. JURY DEMAND

       Plaintiff hereby demands a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              WARREN & VULLINGS, LLP

 Date: June 30, 2009              BY:            /s/ Brent F. Vullings_
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